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                       IN THE UNITED STATES DISTRICT COURT                             11/15/2019
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                  LYNCHBURG DIVISION

UNITED ENERGY WORKERS                                 )
HEALTHCARE CORPORATION,                               )
                                                      )
               Plaintiff,                             )
                                                      )
                                                      )      Case No. 6:19-cv-00073
v.
                                                      )
                                                      )
MELISSA GAIL ANDERSON, RN, CHPN,                      )
                                                      )
               Defendant.                             )

                                      CONSENT ORDER


       Plaintiff United Energy Workers Healthcare Corporation (“Plaintiff” or “UEW

Healthcare”) filed a Complaint (ECF Doc. 1) and a Motion for Temporary Injunction (“Motion”)

(Doc. 4.) against Defendant Melissa Gail Anderson, RN, CHPN (“Defendant” or “Anderson”).

       UEW Healthcare and Anderson (collectively, the “Parties”) represent to the Court that

they have entered into a settlement agreement (“Agreement”) whereby Plaintiff agrees to dismiss

its Complaint, without prejudice, in exchange for, among other things, Defendant’s compliance

with certain obligations, including those stated in the 2018 Agreement she signed (Ex. 3 to

Doc. 1). Thus, the Parties request that this Court enter this mutually-agreed Consent Order and

retain jurisdiction with regard to the enforcement of their Agreement.

       It appearing proper to do so in accordance with the mutual agreement of the Parties, it is

ORDERED as follows:

       1.      From the date of this Order through August 14, 2020 (the “Restricted Period”),

               Anderson shall not directly or indirectly:
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               a. “Compete” against UEW as defined in the Parties’ noncompete agreement

                  (see Exhibit 3 to Complaint). This means that Anderson shall not, among

                  other things, provide home health services to individuals who receive benefits

                  under EEOICPA and/or RECA; and

               b. Contact, divert or solicit UEW’s patients, caregivers or contractors for a

                  purpose of “Competing” with UEW.

       2.      Anderson shall not use or disclose UEW Healthcare trade secrets or UEW

               confidential information, especially information regarding its patients, caregivers,

               contractors, or its finances, pricing, or methods of doing business.

       3.      Anderson shall return any confidential information of UEW, and relinquish all

               patient, caregiver and contractor information including, but not limited to, any

               Patient Census or spreadsheets she has in her possession or control, and any other

               confidential information in her possession or control that is the property of UEW.

       4.      Plaintiff’s Complaint is DISMISSED WITHOUT PREJUDICE.

       5.      At the request of the Parties, this Court retains jurisdiction for purposes of

               enforcing the terms of the Agreement, if such action should prove necessary.

       The Clerk is directed to send a certified copy of this Consent Order to all counsel of

record and the Defendant in this action.

                     15th day of November, 2019.
       Entered this _____




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